                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

OLIVER LUCK                                 §
                                            §
       Plaintiff                            §
                                            §
v.                                          §               CIVIL NO. 3:20-cv-516 (VAB)
                                            §
VINCENT K. MCMAHON and                      §
ALPHA ENTERTAINMENT, LLC                    §
                                            §                                   June 3, 2022
       Defendants.                          §

                               JOINT TRIAL MEMORANDUM

 PLAINTIFF OLIVER LUCK                      DEFENDANTS VINCENT K. MCMAHON and
                                            ALPHA ENTERTAINMENT LLC

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 PLAINTIFF’S ATTORNEYS
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      Plaintiff Oliver Luck (“Luck”) and Defendants Alpha Entertainment LLC (“Alpha”) and

Vincent K. McMahon (collectively, the “Defendants”) respectfully submit this Joint Trial

Memorandum.

   1. TRIAL COUNSEL

                  Counsel for Plaintiff:

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   2. JURISDICTION

      Jurisdiction is conferred on this Court by 28 U.S.C. § 1332(a)(2).

   3. JURY/NON-JURY

      The parties agree that this case shall be a jury trial.
   4. NATURE OF CASE

       A. As stated by Plaintiff, Oliver Luck

       The Plaintiff, Oliver Luck, brings claims for breach of contract, including breach of

guaranty, and seeks declaratory judgment in accordance with 28 U.S. § 2201. These claims are

based on Defendants’ failure and refusal to abide by their express agreements to pay Mr. Luck the

funds he is owed under his Employment Contract. Despite fulfilling his obligations as

Commissioner and CEO of the XFL, a professional league owned by Defendant Alpha

Entertainment, LLC, Mr. Luck was wrongfully terminated by Alpha on April 9, 2020, allegedly

for cause. Defendants’ termination was a sham designed to evade Defendant Vincent McMahon’s

obligations under the Guaranty for payment of Mr. Luck’s salary, bonuses, and the aggregate

amount of premiums for coverage for Mr. Luck and his dependents.

       Mr. Luck brings this action for (1) a declaratory judgment against Alpha for Mr. Luck’s

wrongful termination under the Employment Contract and (2) breach of contract against Mr.

McMahon for breaching his obligations under the Guaranty.

       Following the Court’s Ruling and Order, ECF 423, dated February 11, 2022, the sole

remaining issues for trial are: (1) whether the hiring and termination of Mr. Callaway was a

permissible, enumerated reason for terminating Mr. Luck for cause, and (2) even if it was, whether

the hiring and firing of Mr. Callaway could have been reasonably susceptible to cure. The hiring

and firing of Antonio Callaway was not a material business decision, was not a violation of any

XFL policy or directive, was not in violation of Mr. Luck’s Employment Contract, and even if it

was, it was reasonably susceptible to cure. Defendants repudiated and breached the Employment

Contract by failing to provide Mr. Luck with written notice and 30 days opportunity to cure.

       As set forth in the Employment Contract, Mr. Luck seeks and is entitled to receive: “(i) the

aggregate amount of Base Salary and Guaranteed Annual Bonuses that would otherwise be payable


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to him during the remaining scheduled term of this Contract (i.e., through June 30, 2023 or, if

applicable, any Renewal Periods) plus (ii) all Accrued Obligations plus (iii) the aggregate amount

of premiums for coverage for Mr. Luck and his dependents under the health, accident, life and

other insurance benefits that he was receiving immediately prior to such termination for a period

of 24 months following” the April 9, 2020 termination. Excluding prejudgment interest and offer

of compromise interest, Mr. Luck seeks as damages: (a) $23,902,301 as the aggregate amount of

Base Salary and Guaranteed Annual Bonuses that would otherwise be payable to him during the

remaining scheduled term of the Employment Contract1 plus (b) either $48,667 as the aggregate

amount of premiums for coverage of benefits that he was receiving immediately prior to

termination or $124,712.05, which represents Mr. Luck’s cost to obtain benefits on the open

market like those he received immediately prior to his termination.

        B. As stated by Defendants, Vincent K. McMahon and Alpha Entertainment, LLC

        Mr. Luck seeks a declaratory judgment that Alpha terminated his Employment Contract

without Cause. Mr. Luck asserts a breach of contract claim for damages against Mr. McMahon

alleging that Mr. McMahon breached a Guaranty agreement by failing to pay him amounts owed

under the Employment Contract.

        Defendants maintain that Mr. Luck was terminated for Cause under the Employment

Contract and is not owed any money under the Employment Contract or the Guaranty. Defendants

maintain that Cause existed under the Employment Contract because (i) Mr. Luck intentionally

failed to follow applicable XFL policies or directives regarding factors disqualifying players from

the XFL in connection with both the hiring of, and failure to terminate, Antonio Callaway; and (ii)

Mr. Luck willfully disregarded the lawful instructions of Mr. McMahon concerning his material


1
 This amount consists of the $8,000,000 remaining of Mr. Luck’s total $10,000,000 Guaranteed Annual Bonuses,
and $15,902301 remaining of Mr. Luck’s total $25,000,000 Base Salary.


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duties under the Employment Contract first by hiring Antonio Callaway and secondly by failing

to terminate Mr. Callaway after being told to do so on January 28, 2020.

        Mr. Luck’s actions and omissions were not reasonably susceptible to cure because he

legally bound Alpha to pay Callaway a bonus of $125,000 when he signed Callaway’s contract on

January 23, 2020 and because Callaway could not be terminated after being injured in practice

when Mr. Luck failed to carry out the directive to terminate him. Thus, no notice or opportunity

to cure was required to be given to Mr. Luck.

        Defendants further maintain that Mr. Luck is not entitled to any bonus payments in any

event because he was terminated prior to the scheduled payment date under the Employment

Contract. Alpha seeks damages for the harm caused by Mr. Luck’s breaches of the Employment

Contract, including the payments made to Mr. Callaway under his contract and the workers

compensation benefits for Mr. Callaway.

      5. STIPULATIONS OF FACT AND LAW

        The parties agree to the following stipulations of fact and law:

 1.     On or about May 30, 2018, Oliver Luck and Defendant Alpha Entertainment LLC
        (“Alpha”) entered into the Contract for Employment as Commissioner and CEO of the
        XFL, a professional football league (the “Employment Contract”).

 2.     Mr. Luck and Defendant Vincent K. McMahon, as owner of Alpha, signed the
        Employment Contract.

 3.     The four criteria set forth in Mr. Luck’s July 17, 2019 email were: (1) any felony charge
        or conviction; (2) any credible allegation of domestic violence; (3) any repeat
        misdemeanor, i.e., 2x or more; and (4) any conviction of distributing illegal drugs.

 4.     On January 16, 2020, Antonio Callaway signed an XFL player contract.

 5.     On January 17, 2020, Brad Blum, Executive Vice President Operations for World
        Wrestling Entertainment, Inc. (“WWE”), sent an email to Mr. McMahon attaching an
        article from TMZ Sports entitled “Antonio Callaway Signs with XFL’s Tampa Bay
        Vipers.” The article described Mr. Callaway as “troubled” and stated that he had “several
        suspensions for off-field incidents” while playing in the National Football League. The



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      article further states that the XFL has “backtracked” on “its zero-tolerance policy on
      players having a criminal record.”

6.    On January 18, 2020, Mr. McMahon and Mr. Luck had a telephone call discussing
      potential XFL players.

7.    On January 23, 2020, Mr. Luck, on behalf of Alpha, signed the XFL Standard Player
      Contract by and between Alpha and Antonio Callaway.

8.    On January 28, 2020, at approximately 11:15 p.m. EST, Mr. McMahon instructed Mr.
      Luck to terminate Mr. Callaway’s employment with the XFL.

9.    On January 29, 2020, Mr. Luck had two phone calls with Antonio Callaway’s head coach,
      Marc Trestman, about Callaway—one call at 7:13 am ET that lasted for five minutes and
      a second call at 8:34 am ET that lasted for four minutes.

10.   Antonio Callaway practiced on January 29, 2020, during which he suffered a knee injury
      that required him to be placed on injured reserve.

11.   In an email sent on January 31, 2020, Cindy Wagner, XFL Senior Director of People &
      Culture, informed Jeffrey Pollack, XFL President and Chief Operating Officer, that
      Alpha “should not be terminating anyone who is on IR/Workers compensation. This can
      be considered retaliation and wrongful termination.”

12.   Alpha paid Antonio Callaway a total of $158,950.63, including salary and a one-time
      signing bonus of $125,000.

13.   Antonio Callaway’s signing bonus was paid on February 14, 2020.

14.   Alpha paid a total of $29,226.09 in workers compensation benefits for Antonio
      Callaway.

15.   On April 9, 2020, Alpha terminated Mr. Luck via letter signed by Attorney McDevitt (the
      “Termination Letter”).

16.   The Termination Letter terminated Mr. Luck’s contract “effective immediately, for
      cause.”

17.   Alpha sent, and Mr. Luck received, a letter dated April 9, 2020 advising Mr. Luck that
      he was being terminated for Cause.

18.   The Termination Letter cited the hiring of Mr. Callaway and the failure to terminate Mr.
      Callaway immediately as grounds for terminating Mr. Luck’s employment for cause.

19.   Mr. Luck was paid a total of $11,097,699.11, including base salary and one $2,000,000
      bonus payment.




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   6. PLAINTIFF’S CONTENTIONS

       Defendant Alpha Entertainment LLC (“Alpha”) terminated Plaintiff Oliver Luck’s

employment as Commissioner and CEO of the XFL allegedly for Cause. In reality, however, Alpha

terminated Mr. Luck without Cause – in other words, without a reason that is permitted under Mr.

Luck’s employment agreement. Simply put, Mr. Luck’s termination was motivated by the desire

of Alpha’s owner, Defendant Vincent K. McMahon, to avoid Mr. McMahon’s unconditional

obligation to pay Mr. Luck $24 million, the remaining amount due to Mr. Luck under his

employment contract (the “Employment Contract”). Mr. McMahon had signed a personal

Guaranty (“Guaranty”) of Alpha’s obligations to pay all amounts due to Mr. Luck under his five-

year employment agreement with Alpha.

       In May 2018, Mr. Luck and Alpha entered into the Employment Contract. Under that

agreement, Mr. Luck was to serve as Commissioner and CEO of the XFL for a five-year term,

beginning on July 1, 2018. Alpha agreed to pay Mr. Luck a base salary of $5 million per year, plus

a guaranteed annual bonus of $2 million, for a total of $7 million per year. Alpha also agreed to

provide certain health insurance and other benefits to Mr. Luck and his dependents. At the same

time, Mr. McMahon issued his personal Guaranty of payment in favor of Mr. Luck, and Mr.

McMahon expressly agreed this his Guaranty was absolute, irrevocable, unconditional and binding

on him.

       In March 2020, shortly after the outbreak of COVID-19, Mr. McMahon decided to end the

XFL season due to the pandemic. Within a matter of a few weeks, Alpha also decided to file for

bankruptcy protection. Just two business days before filing for bankruptcy, Alpha sent Mr. Luck a

letter, terminating his employment. The termination was based on a trumped-up, pretextual claim

– which neither Alpha nor Mr. McMahon had ever previously communicated to Mr. Luck –




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claiming that Mr. Luck violated his Employment Contract by signing a single player, Antonio

Callaway, to an XFL contract, supposedly against Mr. McMahon’s instructions.

       The April 9, 2020 termination of Mr. Luck was remarkable for several reasons. First, the

incident for which Mr. Luck supposedly deserved to be fired for cause under the Employment

Contract took place more than two months before Alpha terminated Mr. Luck. On January 23,

2020, Mr. Luck signed Mr. Callaway’s XFL contract. Second, Mr. Callaway was on an active XFL

roster for less than one week of training camp (at which point he suffered a season-ending injury,

was removed from the team, and placed on the Injured Reserve list) and never played a single

down in a single XFL football game. Third, after Mr. Callaway was placed on Injured Reserve,

neither Mr. McMahon nor anyone else at the XFL provided Mr. Luck with written notice that he

had violated any XFL directive or policy, had disregarded the lawful instructions of Mr. McMahon,

or had in any way breached his contract. Mr. Luck had an important clause in his Employment

Contract. That clause provided that, before Alpha could terminate Mr. Luck’s employment for

Cause – which would deprive Mr. Luck of the remaining amounts due to him under his

Employment Contract – Alpha was obligated to provide Mr. Luck with written notice of the

circumstance that supposedly constituted Cause and was obligated to give Mr. Luck thirty days to

cure the issue, if it was susceptible to cure. Here, any issue Alpha or Mr. McMahon had regarding

the handling of Antonio Callaway certainly could have been cured if Alpha had provided notice to

Mr. Luck. Mr. Luck could have cured the problem, if Alpha or Mr. McMahon truly believed it was

a problem, by reimbursing Alpha for any costs associated with Antonio Callaway’s brief stay in

the XFL. Defendants, never gave any notice, written or otherwise, to Mr. Luck, and therefore did

not give him an opportunity to cure the supposed problem.




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       Mr. Luck contends that his termination as Commissioner should be treated for what it

clearly was – a sham termination in blatant violation of his Contract. Accordingly, Mr. Luck is

entitled to an award against Mr. McMahon on the Guaranty equal to the full amount remaining on

Mr. Luck’s Employment Contract.

   7. DEFENDANTS’ CONTENTIONS

       On May 30, 2018, Luck entered into an Employment Contract with Alpha.                    The

Employment Contract provided that Luck’s employment “may be terminated by Alpha at any time,

with or without Cause.” Under the Employment Contract, Alpha had Cause to terminate Luck’s

employment for any one of six specified circumstances, including (i) Luck’s “intentional failure

to follow any applicable XFL policies or directives” and (ii) Luck’s “willful disregard of the lawful

instructions of Mr. McMahon concerning his material duties hereunder.”

       From the inception of the XFL, Mr. McMahon made clear that the league would only hire

players with good character. At a January 25, 2018 press conference announcing the launch of the

XFL, Mr. McMahon stated that the quality of the human beings in the league was as important as

the quality of the players and that he did not want anyone with any criminality associated with

them to play in the league. Mr. McMahon’s directives were fundamental to his vision for the XFL

brand. Mr. Luck was well aware of Mr. McMahon’s directives in this regard, and once indicated

to a third party he would lose his job if he did not comply with Mr. McMahon’s directives.

       On January 18, 2020, Mr. Luck admits he was told not to allow one player (Martavis

Bryant) to play in the league because he had been suspended by the NFL for violations of the

NFL’s substance abuse policy in his past. Mr. Luck admits he was also told during the same call

not to allow another player (Levern Jacobs) to play in the league because he had been accused of

sexual assault while an undergraduate. By the time of the call on January 18, 2020, Mr. Luck

knew Antonio Callaway had those disqualifying factors, plus an extensive criminal record which


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included felony charges and multiple misdemeanors. Mr. McMahon asserts he told Mr. Luck not

to let Callaway in the league during the same call on January 18th. Mr. Luck’s version is that

Callaway was not discussed, yet admits he did not tell Mr. McMahon any of the disqualifying

factors he knew regarding Callaway during the call on January 18th.

       Defendants contend that Mr. Luck was terminated for Cause under the two aforementioned

provisions of his Employment Contract because he intentionally hired Callaway in violation of

XFL policy and Mr. McMahon’s directives first by signing a contract with Callaway on January

23, 2020 that committed Alpha to pay Callaway a $125,000 signing bonus, and such violation

could not be cured. Mr. Luck further intentionally failed to follow a specific directive of Mr.

McMahon given to him on January 28, 2020 to terminate Callaway. Instead of doing so, Mr. Luck

gave permission for Callaway to practice on January 29, 2020, during which Callaway was injured.

Once injured, Callaway could not legally be terminated and Alpha became irreversibly obligated

to pay the sums due under his contract and workers compensation benefits. For that reason, as

well as other reasons to be proven at trial, including, but not limited to, the deceit of Mr. Luck

towards Mr. McMahon and other XFL executives in connection with Callaway, no cure was

possible. Because no cure was possible, no notice or opportunity to cure were required to be given

to Mr. Luck under the terms of his Employment Contract before terminating him.

       Mr. Luck’s Employment Contract expressly stated it could be terminated at any time, and

contained no time limit on when Alpha could exercise its right to terminate for Cause. Thus, on

April 9, 2020, Alpha terminated Mr. Luck for Cause under the Employment Contract as a result

of Luck’s intentional failure to follow McMahon’s directives and willful disregard of McMahon’s

instructions concerning his duties. For these same reasons, Alpha contends that Mr. Luck breached

the Employment Contract and has no legitimate affirmative defenses, including waiver or estoppel,




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to Alpha’s breach of contract counterclaims. Alpha seeks damages for the harm caused by Mr.

Luck’s breaches of the Employment Contract related to Callaway, including payments made to

Callaway under his contract and the workers compensation benefits for Callaway, in the aggregate

amount of $188,176.72.

   8. LEGAL ISSUES

       A. Plaintiff’s legal issues

           1. Plaintiff refers to his Motions in Limine and his Brief in Support of Plaintiff’s
              Contentions for further answer, to be filed on June 3, 2022 per the Court’s February
              25, 2022 Order [ECF No. 432].

           2. Evidence Regarding the Approval or Disapproval by Vince McMahon of Players
              Other than Antonio Callaway. See Motion in Limine. Generally, evidence of and
              arguments related to other players concerning the reasons why they were not
              allowed to play in the XFL should be excluded because any probative value
              regarding these topics is substantially outweighed by the danger of unfair prejudice,
              confusing the issues, misleading the jury, and needlessly presenting cumulative
              evidence.

           3. Discovery Sanctions. See Motion in Limine. Generally, any statement, evidence,
              argument, reference, or assertion relating to Mr. Luck’s purported spoliation of
              evidence should be excluded because the Court already has provided monetary
              sanctions and did not make findings that would be necessary for an adverse
              inference sanction.

           4. The specific provisions of the Employment Contract should prevail over general
              provisions, including those general provisions related to Defendants’ policies or
              directives, gross negligence, or intentional conduct. See Motion in Limine.

           5. The Court should Exclude All Arguments that were Rejected by the Court in the
              February 11, 2022 Order and Ruling. See Motion in Limine. Generally, the Court
              has rejected the Defendants’ reasons for Cause based on: Mr. Luck’s activities
              related to stadium selection, Mr. Luck’s alleged failure to perform his XFL duties
              between March 13, 2020, and April 9, 2020, Mr. Luck’s personal use of his XFL
              iPhone for any purpose, after-acquired evidence of any kind, and disclosure of
              alleged confidential material to Kathy Luck, Will Wilson, or Wasserman.

           6. Bonuses. Defendants assert that Mr. Luck is not entitled to the remaining bonuses
              (totaling $8 million) under his Employment Contract because the Employment
              Contract provides that Mr. Luck will be paid a Guaranteed Annual Bonus “on the
              last day of each Contract Year, subject to his continued employment on the
              scheduled payment date,” and Mr. Luck was terminated before that date. However,



                                                10
   the Employment Contract states that upon termination without Cause, Mr. Luck
   “will be entitled to receive . . . the aggregate amount of Base Salary and Guaranteed
   Annual Bonuses that would otherwise be payable to him during the remaining
   scheduled term of this Contract (i.e., through June 30, 2023 or, if applicable, any
   Renewal Periods).” Thus, even if Mr. Luck was not employed on the scheduled
   payment date, as a matter of law, he still is entitled to receive the Guaranteed
   Annual Bonuses through the remaining scheduled term of the contract should the
   jury find that Mr. Luck was terminated without Cause.

7. Insurance payments. Defendants assert that Mr. Luck is not entitled to any
   premiums for coverage that he and his dependents were receiving immediately prior
   to his termination because Mr. Luck himself was paying for those premiums out of
   his salary. However, the Employment Contract states that upon termination without
   Cause, Mr. Luck “will be entitled to receive . . . the aggregate amount of premiums
   for coverage for Mr. Luck and his dependents under the health, accident, life and
   other insurance benefits that he was receiving immediately prior to such termination
   for a period of 24 months following such termination.” Thus, even if Mr. Luck was
   paying for those premiums, as a matter of law, he still is entitled to receive the
   premiums for those benefits for a period of 24 months should the jury find that Mr.
   Luck was terminated without Cause.

8. Damages. If the jury finds that Mr. Luck was terminated without Cause, then Mr.
   Luck’s damages, not including prejudgment interest or offer of compromise
   interest, and not including the aggregate amount of insurance premiums, are
   determined as a matter of law by the express language of the Employment Contract.
   Namely, Mr. Luck “will be entitled to receive . . . (i) the aggregate amount of Base
   Salary and Guaranteed Annual Bonuses that would otherwise be payable to him
   during the remaining scheduled term of this Contract (i.e., through June 30, 2023
   or, if applicable, any Renewal Periods) plus (ii) all Accrued Obligations plus (iii)
   the aggregate amount of premiums for coverage for Mr. Luck and his dependents
   under the health, accident, life and other insurance benefits that he was receiving
   immediately prior to such termination for a period of 24 months following such
   termination.” See Plaintiff’s Brief in Support of Calculating Plaintiff’s Damages as
   a Matter of Law.

9. Notice and Cure. In order for Defendants to be excused from providing notice and
   opportunity to cure, the Defendants must prove that the breach involved deceptive
   conduct that goes to the essence of the contract and fundamentally destroys the
   parties’ relationship.

10. Definition of reasonably susceptible to cure. As detailed in Plaintiff’s Motion for
    Summary Judgment and Accompanying Memorandum of Law [ECF No. 380] and
    Plaintiff’s Memorandum of Law in Opposition to Defendants’ Motion for
    Summary Judgment [ECF 400], “reasonably susceptible to cure” means to be
    reasonably capable of removing the legal defect (i.e., the material breach) such that
    it is no longer material.



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           11. Policy must be material. The “XFL policy or directive” must be a material policy.

           12. Plaintiff will respond to Defendants’ motions in limine on June 10, 2022, per the
               Court’s February 25, 2022 Order [ECF No. 432]. Plaintiff disagrees with
               Defendants’ Legal Issues because they are not legal issues, except for “Whether
               Mr. Luck is entitled to the payment of annual bonuses under the Employment
               Contract when he is not employed on the scheduled payment date for such
               bonuses,” which Plaintiff identifies as a legal issue in Items 6 and 8, supra. All
               other of Defendants’ “Legal Issues” are fact issues for the jury.

       B. Defendants’ legal issues

       •   Whether Mr. Luck’s hiring of Antonio Callaway was a permissible, enumerated reason
           for terminating Mr. Luck for cause under the Employment Contract.

       •   Whether Mr. Luck’s hiring of Antonio Callaway could have been reasonably
           susceptible to cure.

       •   Whether Mr. Luck’s failure to terminate Antonio Callaway was a permissible,
           enumerated reason for terminating Mr. Luck for cause under the Employment Contract.

       •   Whether Mr. Luck’s failure to terminate Antonio Callaway could have been reasonably
           susceptible to cure.

       •   Whether Mr. Luck is entitled to the payment of annual bonuses under the Employment
           Contract under any circumstances when he was not employed on the scheduled
           payment date for such bonuses, which is a condition precedent to any bonus payment.

       •   Whether Mr. Luck breached the Employment Contract.

       •   Other legal issues are identified in the motions in limine to be filed by Defendants on
           June 3, 2022 per the Court’s February 25, 2022 Order (ECF No. 432).

   9. VOIR DIRE QUESTIONS

       Plaintiff and Defendants submit their Proposed Voir Dire Questions as detailed in Exhibit

A hereto. Specifically, Exhibit A contains:

           •   Questions Agreed to by the Parties, Ex. A at 1-5,

           •   Questions Requested by Plaintiff, Ex. A at 5-7, and

           •   Questions Requested by Defendants, Ex. A at 7.




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  10. LIST OF WITNESSES

      A. Plaintiff’s witness list

      In alphabetical order by last name:

           Name                             Brief Statement of Anticipated Testimony
Eric Galko – may call            Mr. Galko may testify regarding: (a) the hiring of Antonio
                                 Callaway; (b) his communications and interactions with Mr.
c/o Paul J. Dobrowski            Luck and other XFL employees regarding same;(c) the
Dobrowski, Larkin &              termination of Antonio Callaway and his placement on injured
Stafford L.L.P.                  reserve; (d) his communications and interactions with Mr. Luck
4601 Washington Ave., Suite      and other XFL employees and Mr. Callaway’s agent regarding
300                              the same; (e) the XFL’s policy, or lack thereof, regarding the
Houston, Texas 77007             hiring of players including the July 2019 emails exchanged
                                 regarding the same.

Jeffrey Hogan – intend to call   Mr. Hogan may testify regarding the aggregate amount of
                                 premiums for coverage for Mr. Luck and his dependents under
c/o Paul J. Dobrowski            the health, accident, life and other insurance benefits that he was
Dobrowski, Larkin &              receiving immediately prior to such termination for a period of
Stafford L.L.P.                  24 months following such termination.
4601 Washington Ave., Suite
300
Houston, Texas 77007

Adoria Lim – intend to call      Ms. Lim may testify regarding the quantitative materiality of
                                 Mr. Callaway’s employment with the XFL.
c/o Paul J. Dobrowski
Dobrowski, Larkin &
Stafford L.L.P.
4601 Washington Ave., Suite
300
Houston, Texas 77007

Oliver Luck – intend to call     Mr. Luck may testify regarding: (a) his Employment Contract
                                 and his rights, duties and obligations under it; (b) his
c/o Paul J. Dobrowski            performance of his XFL duties; (c) the hiring of Antonio
Dobrowski, Larkin &              Callaway; (d) his communications and interactions with Mr.
Stafford L.L.P.                  Mr. McMahon and other XFL employees regarding the same;(e)
4601 Washington Ave., Suite      the termination of Antonio Callaway and his decision to place
300                              Mr. Callaway on injured reserve; (f) his communications and
Houston, Texas 77007             interactions with Mr. McMahon and other XFL employees
                                 regarding the same; (g) the XFL’s policy regarding the hiring of
                                 players including the July 2019 emails exchanged regarding the
                                 same; (h) his communications and interactions with Mr.
                                 McMahon and other XFL employees regarding the same; (i)


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                               Defendants’ failure to provide Mr. Luck with written notice and
                               a thirty (30) day opportunity to cure; and (j) Alpha’s
                               termination of Mr. Luck for Cause.

Vincent K. McMahon –           Mr. McMahon may testify regarding: (a) his Employment
intend to call                 Contract and his rights, duties and obligations under it; (b) his
                               performance of his XFL duties; (c) the hiring of Antonio
c/o Jerry S. McDevitt          Callaway; (d) his communications and interactions with Mr.
K&L Gates LLP                  Luck and other XFL employees regarding the same;(e) the
K&L Gates Center               termination of Antonio Callaway and the decision to place Mr.
210 Sixth Avenue               Callaway on injured reserve; (f) his communications and
Pittsburgh, PA 15222           interactions with Mr. Luck and other XFL employee regarding
                               the same; (g) the XFL’s policy, or lack thereof, regarding the
                               hiring of players including the July 2019 emails exchanged
                               regarding the same; (h) Mr. McDevitt’s investigation into the
                               Antonio Callaway situation beginning January 30, 2020; (i) Mr.
                               McDevitt’s investigation in late March – early April 2020
                               regarding Mr. Luck’s employment; (j) the failure to provide
                               Oliver Luck with written notice or a thirty (30) day opportunity
                               to cure; (k) the decision to file bankruptcy by Alpha; and (l) the
                               termination of Oliver Luck for Cause.

Jeffrey Pollack – intend to    Mr. Pollack may testify regarding: (a) his Employment
call                           Contract and his rights, duties and obligations under it; (b) his
                               performance of his XFL duties; (c) the hiring of Antonio
c/o Jerry S. McDevitt          Callaway; (d) his communications and interactions with Mr.
K&L Gates LLP                  Luck and other XFL employees regarding the same;(e) the
K&L Gates Center               termination of Antonio Callaway and the decision to place Mr.
210 Sixth Avenue               Callaway on injured reserve; (f) his communications and
Pittsburgh, PA 15222           interactions with Mr. Luck and other XFL employee regarding
                               the same; (g) the XFL’s policy, or lack thereof, regarding the
                               hiring of players including the July 2019 emails exchanged
                               regarding the same; (h) Mr. McDevitt’s investigation into the
                               Antonio Callaway situation beginning January 30, 2020; (i) Mr.
                               McDevitt’s investigation in late March – early April 2020
                               regarding Mr. Luck; (j) the failure to provide Oliver Luck with
                               written notice or a thirty (30) day opportunity to cure; (k) the
                               decision to file bankruptcy by Alpha; and (l) the termination of
                               Oliver Luck for cause

Cindy Wagner – intend to call Ms. Wagner will testify regarding: (a) the XFL’s policy, or lack
                              thereof, regarding the hiring of players including the July 2019
c/o Jerry S. McDevitt         emails exchanged regarding the same; (b) the use of an
K&L Gates LLP                 individual, case-by-case approach for determining whether an
K&L Gates Center              individual would be permitted to play in the league when
210 Sixth Avenue              needed to supplement the background check process; and (c) the


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Pittsburgh, PA 15222            facts and circumstances surrounding the hiring of Antonio
                                Callaway and the decision to place Mr. Callaway on injured
                                reserve; (d) her communications and interactions with Mr. Luck
                                and other XFL employees regarding the same; (e) Mr.
                                McDevitt’s investigation in late March – early April 2020
                                regarding Mr. Luck; (f) the failure to provide Oliver Luck with
                                written notice or a thirty (30) day opportunity to cure; (g) the
                                decision to file bankruptcy by Alpha; and (h) the termination of
                                Oliver Luck for cause.

Doug Whaley – intend to call     Mr. Whaley may testify about (a) the hiring of Antonio
                                Callaway; (b) his communications and interactions with Mr.
c/o Paul J. Dobrowski           Luck and other XFL employees regarding same;(c) the
Dobrowski, Larkin &             termination of Antonio Callaway and his placement on injured
Stafford L.L.P.                 reserve; (d) his communications and interactions with Mr. Luck,
4601 Washington Ave., Suite     other XFL employees and Mr. Callaway’s agent regarding
300                             same; (e) the XFL’s policy, or lack thereof, regarding the hiring
Houston, Texas 77007            of players including the July 2019 emails exchange regarding
                                same.


      B. Defendants’ witness list

      Defendants intend to call the following witnesses:

        Name                           Address                         Brief Statement of
                                                                     Anticipated Testimony
Oliver Luck             c/o Paul J. Dobrowski                   Mr. Luck will testify
                        Dobrowski, Larkin & Stafford            regarding, among other things,
                        L.L.P.                                  (i) his interactions with Mr.
                        4601 Washington Ave., Suite 300         McMahon and other XFL
                        Houston, Texas 77007                    executives; (ii) his knowledge
                                                                of XFL policies and Mr.
                                                                McMahon’s directives about
                                                                player hiring, including,
                                                                specifically, with respect to,
                                                                Antonio Callaway; and (iii)
                                                                his intentional failure to
                                                                follow such policies and
                                                                directives.
Vincent K. McMahon      c/o Jerry S. McDevitt                   Mr. McMahon will testify
                        K&L Gates LLP                           regarding, among other things,
                        K&L Gates Center                        (i) his interactions with Mr.
                        210 Sixth Avenue                        Luck; (ii) XFL policies and
                        Pittsburgh, PA 15222                    his directives about player
                                                                hiring, including, specifically,



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                                                                  with respect to Antonio
                                                                  Callaway; (iii) Mr. Luck’s
                                                                  repeated efforts to deceive
                                                                  him about Antonio Callaway;
                                                                  and (iv) his view of Mr. Luck
                                                                  following the situation
                                                                  involving Antonio Callaway.


       Defendants may call the following additional witnesses:

         Name                             Address                         Brief Statement of
                                                                       Anticipated Testimony
 Jeffrey Pollack            c/o Jerry S. McDevitt                 Mr. Pollack may testify
                            K&L Gates LLP                         regarding, among other things,
                            K&L Gates Center                      (i) his interactions with Mr.
                            210 Sixth Avenue                      Luck; (ii) his knowledge of
                            Pittsburgh, PA 15222                  XFL policies and Mr.
                                                                  McMahon’s directives about
                                                                  player hiring; and (iii)
                                                                  concerns raised by XFL senior
                                                                  executives about Antonio
                                                                  Callaway to Luck.
 Basil DeVito               c/o Jerry S. McDevitt                 Mr. DeVito may testify
                            K&L Gates LLP                         regarding, among other things,
                            K&L Gates Center                      (i) his interactions with Mr.
                            210 Sixth Avenue                      Luck; (ii) his knowledge of
                            Pittsburgh, PA 15222                  XFL policies and Mr.
                                                                  McMahon’s directives about
                                                                  player hiring; and (iii)
                                                                  concerns he raised about
                                                                  Antonio Callaway to Luck.
 Alex Fairly                Fairly Group                          Mr. Fairly may testify about
                            1800 S. Washington, Suite 400         Antonio Callaway’s workers
                            Amarillo, Texas 79102                 compensation claim.


   11. LIST OF EXHIBITS AND OBJECTIONS

       A. Plaintiff’s anticipated exhibit list

       Attached as “Plaintiff’s Exhibit B” is a list of the exhibits Plaintiff intends to or may use

during his case-in-chief.




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       Plaintiff reserves the right to use pleadings, declarations, discovery materials, exhibits

designated by Defendants or other materials appropriate for impeachment, if the need arises.

       Plaintiff further reserves the right to utilize demonstrative exhibits, including, without

limitation, illustrations, summaries, charts, PowerPoint presentations, and enlargements of

portions of exhibits, in accordance with the Court’s Trial Preferences.

       B. Defendants’ anticipated exhibit list

       Attached as "Defendants' Exhibit B” is a list of the exhibits that Defendants intend to use

or may use in their case-in-chief.

       Defendants reserve the right to use pleadings, declarations, discovery materials, exhibits

designated by Plaintiff or other materials appropriate for impeachment, if the need arises.

       Defendants further reserve the right to utilize demonstrative exhibits, including, without

limitation, illustrations, summaries, charts, PowerPoint presentations, and enlargements of

portions of exhibits, in accordance with the Court’s Trial Preferences.

   12. DEPOSITION TESTIMONY

       A. Plaintiff’s anticipated use of deposition testimony

       Plaintiff’s Designation of Deposition Testimony is attached as “Plaintiff’s Exhibit C.”

Plaintiff reserves the right to designate any deposition testimony based upon any deposition

designation offered by any Defendant.

       B. Defendants’ anticipated use of deposition testimony

       Defendants intend to offer the deposition testimony of Basil DeVito, Marc Trestman, Eric

Galko, and Doug Whaley (if he does not testify live at trial) identified in “Defendants’ Exhibit C”.

Defendants also reserve the right to designate any deposition testimony based upon any deposition

designations offered by Plaintiff.




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      13. REQUESTS FOR JURY INSTRUCTIONS

        A. Plaintiff’s proposed jury instructions

        Plaintiff’s Proposed Jury Instructions are attached as “Plaintiff’s Exhibit D.” Additionally,

although Plaintiff does not include proposed “Pre-Evidence” Jury Instructions because he does not

presume the Court requires them, Plaintiff has such proposed instructions available for the Court

upon the Court’s request. Plaintiff submits his proposed Jury Verdict form as “Plaintiff’s Exhibit

E.”

        B. Defendants’ proposed jury instructions

        Defendants’ requests for the jury charge are set forth in “Defendants’ Exhibit D.”

Defendants submit their proposed Jury Verdict form as “Defendants’ Exhibit E.”

      14. ANTICIPATED EVIDENTIARY PROBLEMS

        A. Plaintiff’s Anticipated evidentiary problems

        See Plaintiff’s Motion in Limine, filed on June 3, 2022, per the Court’s February 25, 2022

Order (ECF No. 432). Plaintiff acknowledges that he has objected to many of Defendants’ exhibits.

However, Plaintiff believes that the Court’s resolution of a limited number of Plaintiff’s motions

in limine will resolve the many objections – one way or the other – such that the objections should

not interfere with the progress of trial.

        B. Defendants’ Anticipated evidentiary problems

        Anticipated evidentiary problems are addressed by Defendants’ motions in limine, which

will be filed on June 3, 2022 per the Court’s February 25, 2022 Order (ECF No. 432).

      15. PROPOSED FINDINGS AND CONCLUSIONS

        N/A




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   16. TRIAL TIME

       Plaintiff anticipates the entire trial will take 5 full days, including closing. Plaintiff

anticipates completing his case in chief within 3 days.

       Defendants anticipate that five to seven trial days will be required.

   17. COURTROOM TECHNOLOGY

       Plaintiff and Defendants request use of courtroom technology and will timely submit

Requests for Courtroom Technology Form to the Court.

   18. FURTHER PROCEEDINGS

       A. As Agreed By the Parties:

           1. Rulings on Motions in Limine

           2. The formal charge conference and objections

       B. As stated by Plaintiff:

           1. Plaintiff has served a trial subpoena duces tecum on Defendant Vincent McMahon

               requesting that Mr. McMahon provide communications and reports from the

               executive search firm Korn Ferry relating to Mr. Luck. Defendants intend to object

               to the portion of the subpoena requiring Mr. McMahon to search for and produce

               documents of the kind requested.

       C. As stated by Defendants:

           1. Ruling on Motion for Reconsideration of certain summary judgment rulings (ECF

               No. 428)


   19. ELECTION FOR TRIAL BY MAGISTRATE JUDGE

       Plaintiff objects to trial by magistrate judge.




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Respectfully submitted,


 PLAINTIFF OLIVER LUCK                 DEFENDANTS VINCENT K. MCMAHON
                                       and ALPHA ENTERTAINMENT LLC,

 /s/ Paul J. Dobrowski                 By: /s/ Jerry S. McDevitt
 Paul J. Dobrowski (phv10563)          Jerry S. McDevitt (pro hac vice)
 Vanessa L. Pierce (phv10561)          Curtis B. Krasik (pro hac vice)
 Jared A. McHazlett (phv10650)         K&L GATES LLP
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 Houston, Texas 77007                  Pittsburgh, PA 15222
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 PLAINTIFF’S ATTORNEYS




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                                CERTIFICATE OF SERVICE

         I hereby certify that on June 3, 2022, a copy of the foregoing was filed electronically and
served on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to
all parties by operation of the Court’s electronic filing system, or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF system.


                                     /s/ Andrew M. Zeitlin




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